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                                            United States District Court
                                            Eastern District of California




State of Nebraska, et al.
                                                             Case Number: 2:24-cv-01364-TLN-CKD
 Plaintiff(s)

 V.
                                                             APPLICATION FOR PRO HAC VICE
Steven S. Cliff, in his official capacity, et al.            AND ORDER

 Defendant(s)

Pursuant to Local Rule 180(b)(2) of the United States District Court for the Eastern District of California,
Stanford Purser                                   hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
State of Utah

On          10/15/2010        (date), I was admitted to practice and presently in good standing in the
                 Utah Supreme Court               (court). A certificate of good standing from that court is
submitted in conjunction with this application. I have not been disbarred or formally censured by a court of
record or by a state bar association; and there are not disciplinary proceedings against me.


   I have / ✔ I have not concurrently or within the year preceding this application made a pro hac vice
application to this court. (If you have made a pro hac vice application to this court within the last year, list
the name and case number of each matter in which an application was made, the date of application and
whether granted or denied.)




Date:           06/17/2024                         Signature of Applicant: /s/ Stanford Purser



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Pro Hac Vice Attorney

Applicant's Name:                 Stanford Purser

Law Firm Name:                    Office of the Utah Attorney General

Address:                          160 E. 300 S., 5th floor



City:                             Salt Lake City                 State:       UT     Zip: 84111
Phone Number w/Area Code: (385) 382-4334
City and State of Residence: Draper, Utah
                                   spurser@agutah.gov
Primary E-mail Address:
Secondary E-mail Address:


I hereby designate the following member of the Bar of this Court who is registered for ECF with whom the
Court and opposing counsel may readily communicate regarding the conduct of the case and upon whom
electronic notice shall also be served via the Court’s ECF system:

Local Counsel's Name:             Eric J. Hamilton

Law Firm Name:                    Nebraska Department of Justice

Address:                          2115 State Capitol



City:                             Lincoln                        State:       NE    Zip:       68509

Phone Number w/Area Code: (402) 471-2683                                  Bar #    CA 296283




                                                         ORDER
The Pro Hac Vice Application is APPROVED. The Pro Hac Vice Attorney is DIRECTED to request
filing access through PACER.




               Dated:      June 20, 2024
                                                             JUDGE, U.S. DISTRICT COURT



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